Case 22-51326-wlh        Doc 13     Filed 02/22/22 Entered 02/22/22 14:31:56            Desc Main
                                    Document      Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 In re:                                          ) Chapter 11
                                                 )
 RICHARD DOUGLAS CULLINAN.,                      ) Case No. 22-51326-wlh
                                                 )
                        Debtor.                  )
                                                 )


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

          PLEASE TAKE NOTICE that, pursuant to Bankruptcy Rule 9010(b), Brian J. Levy and

the law firm of Burr & Forman LLP, hereby enter their appearance for Fifth Third Bank, National

Association, creditor and party in interest in the above bankruptcy case, and further request service

of papers pursuant to Bankruptcy Rules 2002 and 3017(a). The undersigned counsel hereby puts

all parties in interest on notice that they request that the Clerk of the Court place the undersigned

counsel on the Master Service List in this case and that all counsel of record provide the

undersigned counsel with copies of all notices, pleadings and other filings made in the above-

captioned matter including, without limitation, notices of any application, complaint, demand,

hearing, motion, order, pleadings or request, formal or informal, whether transmitted or conveyed

by mail, telephone or otherwise. The Clerk and all counsel are requested to direct all written or

telephone correspondence to the undersigned counsel at the following address or telephone

number:

                                  Brian J. Levy
                                  blevy@burr.com
                                  BURR & FORMAN LLP
                                  Suite 1100, 171 Seventeenth Street, N.W.
                                  Atlanta, Georgia 30363
                                  (404) 815-3000 [dial]
                                  (404) 817-3244 [telecopier]
Case 22-51326-wlh     Doc 13       Filed 02/22/22 Entered 02/22/22 14:31:56   Desc Main
                                   Document      Page 2 of 3



       This 22nd day of February, 2022.

                                                  BURR & FORMAN LLP

                                                  /s/Brian J. Levy
                                                  Brian J. Levy
                                                  Georgia Bar No. 302518


 171 17th Street, NW, Suite 1100                  ATTORNEYS FOR FIFTH THIRD BANK,
 Atlanta, Georgia 30363                           NATIONAL ASSOCIATION
 (404) 815-3000 [dial]
 (404) 817-3244 [telecopier]
 blevy@burr.com [email]




                                              2
Case 22-51326-wlh          Doc 13     Filed 02/22/22 Entered 02/22/22 14:31:56              Desc Main
                                      Document      Page 3 of 3



                                    CERTIFICATE OF SERVICE

          I hereby certify that this the 22nd day of February, 2022, I electronically filed the foregoing

NOTICE OF APPEARANCE AND REQUEST FOR NOTICES with the Clerk of Court using the

CM/ECF system which will automatically send an email notification of such filing to the attorneys

of record.


                                                      BURR & FORMAN LLP

                                                      /s/ Brian J. Levy
                                                      Brian J. Levy
                                                      Georgia Bar No. 302518

                                                      ATTORNEYS FOR FIFTH THIRD BANK,
 171 17th Street, N.W., Suite 1100                    NATIONAL ASSOCIATION
 Atlanta, Georgia 30363
 (404) 815-3000 [dial]
 (404) 817-3244 [telecopier]
 blevy@burr.com [email]




47241636 v1
